          Case 7:18-cv-11178-NSR-JCM Document 60
                                              61 Filed 10/26/21
                                                       11/01/21 Page 1 of 2




                                          STATE OF NEW YORK
                                   OFFICE OF THE ATTORNEY GENERAL

 LETITIA JAMES                                                                   DIVISION OF STATE COUNSEL
ATTORNEY GENERAL                                                                       LITIGATION BUREAU


                                                                  October 26, 2021

                                                         Due to extensions of the discovery deadlines, the parties'
    BY ECF                                               joint request to adjourn the Status Conf. from Nov. 5,
                                                         2021 until Jan. 6, 2022 at 10:00 am is GRANTED. The
    Hon. Nelson S. Roman                                 conf. will be held by AT&T Teleconf. To access the
    United States District Judge                         teleconf., please follow these directions: (1) Dial the
    United States District Court                         Meeting Number: (877) 336-1839; (2) Enter the Access
    Southern District of New York                        Code: 1231334 #; (3) Press pound (#) to enter the
    300 Quarropas St.                                    teleconference as a guest. Clerk of Court requested to
    White Plains, New York 10601                         terminate the motion (doc. 60).
                                                         Dated: Nov. 1, 2021
                                   Re: Brown v. Wetz,
                                       18 Civ. 11178 (NSR)(JCM)

    Dear Judge Roman:

           This Office represents defendant Lieutenant Christopher Wetz (“Defendant”) in the above-
    referenced action. The parties jointly submit this letter respectfully requesting to adjourn the Case
    Management Conference currently scheduled for November 5, 2021.

           The parties appeared before Magistrate Judge McCarthy on October 20, 2021. At that time,
    Judge McCarthy extended the parties’ time to complete fact discovery from November 17, 2021
    to December 10, 2021. In light of the extension, the parties respectfully request that the Case
    Management Conference scheduled for November 5, 2021 be adjourned to a date convenient for
    the Court after the conclusion of fact discovery.

           We thank you for your consideration of this application.

                                                                  Respectfully submitted,


                                                                  S/ Julie A. Ortiz
                                                                  Julie A. Ortiz
                                                                  Assistant Attorney General
                                                                  28 Liberty Street, 18th Floor



                   11/1/2021
      Case 7:18-cv-11178-NSR-JCM Document 60
                                          61 Filed 10/26/21
                                                   11/01/21 Page 2 of 2




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cc:   Counsel of Record (BY ECF)
